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                    EXHIBIT D
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                                                                                   January 27, 2009


          VIA EMAIL

          M. Justin Draycott, Esq.
          Patrick Henry Building
          601 D Street, N.W.
          Washington, D.C. 20004

                        Re:           United States ex rel. Ven-A-Care of the Florida Keys v. Abbott Laboratories, Inc.

          Dear Justin:

                  Thank you for providing your thoughts on deposition scheduling, and further conferring
          on Abbott’s motion to compel testimony withheld under the deliberative process privilege during
          our call last Friday. I write to summarize my understanding of where we stand on deposition
          scheduling, and to provide a proposal to resolve Abbott’s motion.

                 I understand that the Government is still in the process of reviewing documents to
          determine if any additional documents should either be produced (in whole or in part) or
          submitted for in camera review in light of the Court’s previous instructions regarding the
          deliberative process privilege. This review includes files from the CMS Office of Legislation.

                  As you know, Abbott wishes to schedule the depositions of Ira Burney and Debbie
          Chang, the two Office of Legislation employees who were the subject of an unsuccessful
          Government protective order motion. Abbott also wishes to schedule the 30(b)(6) deposition
          topics on which it prevailed at the December 4, 2008 hearing before Magistrate Judge Bowler.
          You have indicated that the Government will likely designate Don Thompson and Larry Reed to
          testify on some or all of the topics requested. For planning purposes, we ask that you please
          provide, as has been the practice, a written designation for each of the outstanding 30(b)(6) areas
          of inquiry as soon as possible. As we discussed, please inquire of available dates for the weeks
          of February 23rd, March 9th (save Monday the 9th), and March 16th, with an eye toward
          avoiding back-to-back dates and not scheduling everything in one week.

                  With respect to Abbott’s motion to compel testimony withheld under the deliberative
          process privilege, I would like to reiterate some points we discussed Friday. First, with respect
          to this motion and other outstanding deliberative process privilege issues, we believe CMS
          should review two memoranda recently issued by President Obama, titled “Freedom of
          Information Act” and “Transparency and Open Government,” and consider whether its assertions
          of the deliberative process privilege in this case are consistent with the principles set forth in

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I RV I N E •  LONDON         •  L O S A NG E L E S   •  MA D R I D    •   MI L A N      •   MO S C OW     •    MU N I C H    •     N EW D E L H I    • N EW YO R K       •    PA R I S   •   P I T T S B U RG H
SAN DIEGO       •     SAN FRANCISCO             •    SHANGHAI        •    S I L I C O N VA L L E Y   •    SINGAPORE              •   SYDNEY        •      TA I P E I •    TO K Y O     •     W A S HI N G TO N
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those memoranda. (I have attached copies of the memoranda.) Second, we do not believe that
the Government has enunciated any particular harm that would result from permitting its
witnesses to testify freely and openly on the particular questions at issue in Abbott’s motion to
compel. Finally, Abbott did not move for relief relating to each instance that the Government
asserted the deliberative process privilege to block deposition testimony. Rather, we attempted
to limit our motion to those instances where we believed the witnesses had more to say on an
important subject.

        While Abbott believes a Court or special master should under the circumstances compel
testimony on all of the deposition excerpts, at your request we have re-reviewed the specific
excerpts put at issue by Abbott’s motion to see if we can narrow the issues and avoid the need
for additional judicial review by the Court or a special master. To the extent it would serve to
resolve Abbott’s motion, Abbott would be willing to accept live testimony on the following
excerpts:

       •       Robert Vito. Vito 652:12-21, 654:2-15 (see Abbott Mem. at 4), Vito 687:11-17,
               689:4-7 (see Abbott Memo. at 5), and Vito 6 (611:20-612:11);

       •       Larry Reed. Reed 1 (298:1-8), Reed 2 (312:6-313:22), Reed 3 (420:6-421:16),
               Reed 5 (491:21-494:7), Reed 6 (519:9-521:15, 522:20-523:13), Reed 7 (529:4-
               532:20), Reed 8 (555:11- 557:4), and Reed 9 (560:3-561:11);

       •       Robert Niemann. Niemann 2 (190:16-191:19, 197:3-21), Niemann 3 (198:19-
               200:19), and Niemann 8 (478:4-479:21);

       •       Charles Booth. Booth 1 (176:20-179:7), Booth 3 (204:8-205:22), Booth 4
               (260:1-15);

       •       David Tawes. Tawes 1 (88:17-90:4), Tawes 2 (180:21-182:18), Tawes 3
               (264:16-268:1), and Tawes 5 (395:8-396:1);

       •       Linda Ragone. Ragone 4 (480:20-484:15); and

       •       Don Thompson. Thompson 2 (73:15-75:5).

       By my count, this proposal would eliminate 31 of the 54 excerpts put at issue in Abbott’s
motion. It would eliminate altogether the need for additional testimony from former
Administrator Bruce Vladeck and CMS employees Thomas Gustafson and Amy Bassano.

       We could complete what would remain under this proposal with minimal burden on the
witnesses and counsel. Two of the witness, Mr. Reed and Mr. Thompson, will likely be deposed
again anyway in connection the outstanding 30(b)(6) topics. There would be no reason not to
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simply add these lines of questioning to the deposition. We should be able to complete the
questioning of Mr. Vito, Mr. Tawes, and Mr. Ragone in one relatively short visit to Philadelphia.
If it is more convenient for the witnesses and counsel, we would agree to complete the
questioning of Mr. Niemann and Mr. Booth through a telephone deposition.

       Please advise me as soon as possible whether the Government is agreeable to Abbott’s
proposal.

                                                Sincerely,

                                                /s/ David S. Torborg

                                                David S. Torborg

cc:    Counsel for Dey
       Counsel for Roxane
